 Case 8:20-cv-00048-JVS-JDE Document 1943-2 Filed 03/22/24 Page 1 of 39 Page ID
                                  #:161772



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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
18
                      IN THE UNITED STATES DISTRICT COURT
19
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                  SOUTHERN DIVISION
21
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
22   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           )
23   a Delaware corporation                 ) DECLARATION OF ADAM B.
                                            ) POWELL IN SUPPORT OF
24                Plaintiffs,               ) MASIMO’S STATEMENT
                                            ) REGARDING TRIAL SCHEDULE
25         v.                               )
                                            )
26   APPLE INC., a California corporation   ) Hon. James V. Selna
                                            )
27                Defendant.                )
                                            )
28                                          )
 Case 8:20-cv-00048-JVS-JDE Document 1943-2 Filed 03/22/24 Page 2 of 39 Page ID
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 1         I, Adam B. Powell, hereby declare:
 2         1.     I am a partner in the law firm of Knobbe, Martens, Olson & Bear, LLP,
 3   counsel for Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
 4   (collectively, “Masimo”) in this action. I have personal knowledge of the matters set
 5   forth in this declaration and, if called upon as a witness, would testify competently
 6   thereto.
 7          2.    Attached hereto as Exhibit A is a true and correct copy of an Order
 8   denying Apple’s Petition for Rehearing, entered on March 15, 2024, as Dkt. 42 in
 9   Apple, Inc. v. Masimo Corp., No. 2022-1890 (Fed. Cir.).
10          3.    Attached hereto as Exhibit B is a true and correct copy of mandates
11   entered on October 19, 2023, as Dkt. 51 in Apple, Inc. v. Masimo Corp., No. 2022-
12   1631 (Fed. Cir.), February 20, 2024, as Dkt. 39 in Apple, Inc. v. Masimo Corp., No.
13   2022-1891 (Fed. Cir.), and March 22, 2024, as Dkt. 43 in Apple, Inc. v. Masimo Corp.,
14   No. 2022-1890 (Fed. Cir.).
15          4.    Attached hereto as Exhibit C is a true and correct copy of a transcript of
16   the February 26, 2024, hearing before Judge Selna in this case.
17          5.    Attached hereto as Exhibit D is a true and correct copy of my email
18   correspondence to counsel for Apple, dated March 5, 2024, including the attachment.
19          6.    Attached hereto as Exhibit E is a true and correct copy of a transcript of
20   the July 10, 2020, hearing before Judge Selna in this case.
21
22         I declare under penalty of perjury under the laws of the United States that the
23   foregoing is true and correct.
24         Executed on March 22, 2024, at San Diego, California.
25
26                                         /s/ Adam B. Powell
                                           Adam B. Powell
27
28

                                                -1-
Case 8:20-cv-00048-JVS-JDE Document 1943-2 Filed 03/22/24 Page 3 of 39 Page ID
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                   EXHIBIT A
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                                 #:161775
         Case: 22-1890    Document: 42    Page: 1   Filed: 03/15/2024




                    NOTE: This order is nonprecedential.


             United States Court of Appeals
                 for the Federal Circuit
                           ______________________

                               APPLE INC.,
                                Appellant

                                     v.

                         MASIMO CORPORATION,
                                 Appellee
                          ______________________

                                 2022-1890
                           ______________________

               Appeal from the United States Patent and Trademark
           Office, Patent Trial and Appeal Board in No. IPR2020-
           01523.
                            ______________________

             ON PETITION FOR PANEL REHEARING AND
                      REHEARING EN BANC
                       ______________________

           Before MOORE, Chief Judge, LOURIE, DYK, PROST, REYNA,
             TARANTO, CHEN, HUGHES, STOLL, CUNNINGHAM, and
                          STARK, Circuit Judges. 1

           PER CURIAM.



              1   Circuit Judge Newman did not participate.




                                                                        EXHIBIT A
                                                                               -2-
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                                 #:161776
         Case: 22-1890      Document: 42    Page: 2    Filed: 03/15/2024




                                   ORDER
               Apple Inc. filed a combined petition for panel rehearing
           and rehearing en banc. The petition was referred to the
           panel that heard the appeal, and thereafter the petition for
           rehearing en banc was referred to the circuit judges who
           are in regular active service.
              Upon consideration thereof,
              IT IS ORDERED THAT:
              The petition for panel rehearing is denied.
              The petition for rehearing en banc is denied.
              The mandate of the court will issue on March 22, 2024.


                                                        FOR THE COURT




           March 15, 2024
               Date




                                                                           EXHIBIT A
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                   EXHIBIT B
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             Case: 22-1631    Document: 51      Page: 1   Filed: 10/19/2023




                 United States Court of Appeals
                     for the Federal Circuit
                                 ______________________

                             MASIMO CORPORATION,
                                   Appellant

                                           v.

                                     APPLE INC.,
                                        Appellee
                                 ______________________

               2022-1631, 2022-1632, 2022-1633, 2022-1634, 2022-1635,
                          2022-1636, 2022-1637, 2022-1638
                              ______________________

                  Appeals from the United States Patent and Trademark
              Office, Patent Trial and Appeal Board in Nos. IPR2020-
              01520, IPR2020-01521, IPR2020-01714, IPR2020-01715,
              IPR2020-01536,       IPR2020-01537,      IPR2020-01538,
              IPR2020-01539.
                               ______________________

                                      MANDATE
                                 ______________________

                  In accordance with the judgment of this Court, entered
              September 12, 2023, and pursuant to Rule 41 of the Federal
              Rules of Appellate Procedure, the formal mandate is
              hereby issued.

                                                     FOR THE COURT

              October 19, 2023                       /s/ Jarrett B. Perlow
                   Date                              Jarrett B. Perlow
                                                     Clerk of Court




                                                                              EXHIBIT B
                                                                                     -4-
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             Case: 22-1891    Document: 39     Page: 1   Filed: 02/20/2024




                 United States Court of Appeals
                     for the Federal Circuit
                               ______________________

                                   APPLE INC.,
                                    Appellant

                                          v.

                             MASIMO CORPORATION,
                                     Appellee
                              ______________________

                                     2022-1891
                               ______________________

                  Appeal from the United States Patent and Trademark
              Office, Patent Trial and Appeal Board in No. IPR2020-
              01524.
                               ______________________

                                    MANDATE
                               ______________________

                  In accordance with the judgment of this Court, entered
              January 12, 2024, and pursuant to Rule 41 of the Federal
              Rules of Appellate Procedure, the formal mandate is
              hereby issued.


                                                     FOR THE COURT




              February 20, 2024
                    Date




                                                                             EXHIBIT B
                                                                                    -5-
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                                 #:161780


             Case: 22-1890     Document: 43    Page: 1   Filed: 03/22/2024




                 United States Court of Appeals
                     for the Federal Circuit
                               ______________________

                                    APPLE INC.,
                                     Appellant

                                          v.

                             MASIMO CORPORATION,
                                     Appellee
                              ______________________

                                     2022-1890
                               ______________________

                  Appeal from the United States Patent and Trademark
              Office, Patent Trial and Appeal Board in No. IPR2020-
              01523.
                               ______________________

                                    MANDATE
                               ______________________

                  In accordance with the judgment of this Court, entered
              January 12, 2024, and pursuant to Rule 41 of the Federal
              Rules of Appellate Procedure, the formal mandate is
              hereby issued.


                                                     FOR THE COURT




              March 22, 2024
                  Date




                                                                             EXHIBIT B
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                    EXHIBIT C
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                                  #:161782

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  4                         UNITED STATES DISTRICT COURT

  5                        CENTRAL DISTRICT OF CALIFORNIA

  6                                 SOUTHERN DIVISION

  7                                       - - -

  8            THE HONORABLE JAMES V. SELNA, JUDGE PRESIDING

  9
                 MASIMO CORPORATION, et al.,   )CERTIFIED TRANSCRIPT
 10                                Plaintiffs, )
                    vs.                        )
 11                                            ) SACV-20-00048-JVS
                 APPLE, INC.,                  )
 12                                Defendant. )
                 ------------------------------)
 13

 14

 15                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                          Santa Ana, California

 17                            February 26, 2024

 18

 19                                SHARON A. SEFFENS, RPR
                                   United States Courthouse
 20                                411 West 4th Street, Suite 1-1053
                                   Santa Ana, CA 92701
 21                                (612) 804-8655

 22

 23

 24

 25

               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                           EXHIBIT C
                                                                                  -7-
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                                                                       2


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               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                           EXHIBIT C
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          1    SANTA ANA, CALIFORNIA; MONDAY, FEBRUARY 26, 2024; 1:44 P.M.

01:44     2               THE CLERK:    Calling Item No. 7, SACV-20-00048-JVS,

01:44     3    Masimo Corporation, et al. versus Apple, Inc.

01:45     4               If you could please state your appearances for the

01:45     5    record, counsel.

01:45     6               MR. CLAASSEN:     Good afternoon, Your Honor.      Brian

01:45     7    Claassen on behalf of Masimo.

01:45     8               THE COURT:    Good afternoon.

01:45     9               MR. CLAASSEN:     Here with me is my partner, Steve

01:45    10    Jensen.

01:45    11               THE COURT:    Good afternoon.

01:45    12               MR. MUELLER:     Good afternoon, Your Honor.      Joe

01:45    13    Mueller on behalf of Apple.      With me are my partner, Tom

01:45    14    Sprankling; our co-counsel, Ken Parker, from Haynes and

01:45    15    Boone; and Tucker Terhufen from Apple.

01:45    16               THE COURT:    Good afternoon all.

01:45    17               Who's going to argue this?       Mr. Claassen.

01:45    18               MR. CLAASSEN:     Good afternoon, Your Honor.

01:45    19               I'd like to walk the Court through a few things

01:45    20    that we'd like to talk about on the tentative, and I'll go

01:45    21    into --

01:45    22               THE COURT:    Assume I stick with the tentative.          Is

01:46    23    60 days going to be that big a deal?

01:46    24               MR. CLAASSEN:     No, Your Honor, provided that --

01:46    25               THE COURT:    If they came down tomorrow and

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01:46     1    decided, it would set the clock, and we're off and running.

01:46     2                MR. CLAASSEN:    One important update, Your Honor.

01:46     3    The mandates have issued on two of the three patents.

01:46     4                THE COURT:   Okay, but --

01:46     5                MR. CLAASSEN:    So that is a little bit of an

01:46     6    update.   The 60 days isn't problematic for us, so long as

01:46     7    the stay were to be lifted at the end of that 60 days and we

01:46     8    don't have to go through another round of motion practice.

01:46     9                THE COURT:   Well, that's what I contemplate in

01:46    10    suggesting you can apply to the Court with ten days' notice.

01:46    11                MR. CLAASSEN:    That's what we would prefer, Your

01:46    12    Honor.    We'd also like to propose a schedule at that time,

01:46    13    if that's amenable to the Court.

01:46    14                THE COURT:   That seems appropriate.      Well, I'm

01:46    15    just not going to let this languish in terms of how the

01:46    16    Federal Circuit manages its docket.

01:46    17                MR. CLAASSEN:    Understood, Your Honor.      So we'd

01:46    18    propose that we move forward pursuant to the Court's order

01:46    19    and propose a schedule.      If the Federal Circuit for some

01:46    20    reason has not ruled within 60 days, as noted in your order,

01:47    21    we'd come back to the Court at the time.

01:47    22                THE COURT:   Well, I'm accelerating that now,

01:47    23    having you meet and confer and put together a schedule, or

01:47    24    at least express your views on what the schedule ought to

01:47    25    be, so when the time comes, we'll promptly enter a

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                                                                                   EXHIBIT C
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01:47     1    scheduling order.

01:47     2                MR. CLAASSEN:    Yes, we'd do it now, Your Honor.

01:47     3    Yes, we would agree with that.

01:47     4                THE COURT:   Okay.

01:47     5                MR. CLAASSEN:    Anything further that you'd like me

01:47     6    to go through on earlier --

01:47     7                THE COURT:   Well, yes.    I mean, the big issue for

01:47     8    me in terms of timing is we're scheduled to commence trial

01:47     9    again on the trade secret -- mostly trade secret, the first

01:47    10    part, in October.     Can we put these two together?

01:47    11                MR. CLAASSEN:    Yes, Your Honor.     Masimo believes

01:47    12    that's entirely appropriate, and we believe that there's

01:47    13    sufficient time remaining between now and October to

01:47    14    complete the necessary discovery in order to present the

01:47    15    patents at the same trial.

01:48    16                THE COURT:   Okay.   Thank you.

01:48    17                Mr. Mueller.

01:48    18                MR. MUELLER:    May I just have one moment, Your

01:48    19    Honor?

01:48    20                THE COURT:   Sure.

01:48    21                (Counsel conferring)

01:48    22                MR. CLAASSEN:    Your Honor, there is one small

01:48    23    typographical error in the order that you might want to

01:48    24    correct.

01:48    25                THE COURT:   Sure.

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                                                                                   EXHIBIT C
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01:48     1               MR. CLAASSEN:     The patent number on the first page

01:48     2    for the '554 Patent, it's currently listed as 10,558,554,

01:48     3    but the actual number is 10,588,554.

01:48     4               THE COURT:    Okay.   Thank you.

01:48     5               Mr. Mueller.

01:48     6               MR. MUELLER:     Sure.   May I proceed?

01:48     7               THE COURT:    Please.

01:48     8               MR. MUELLER:     Your Honor, if I understand, the

01:48     9    procedural proposal would be that if there has not been a

01:48    10    decision on the petition for rehearing or there's been a

01:49    11    denial that the stay would be lifted in 60 days, and that

01:49    12    Your Honor would prefer that the parties meet and confer

01:49    13    before then on an appropriate schedule to enter if the stay

01:49    14    were lifted at that time.      If I have that right, we have no

01:49    15    objection to that.

01:49    16               THE COURT:    I think you have that right.       If they

01:49    17    don't act, we'll have a prompt scheduling conference, and

01:49    18    we'll discuss either the agreed or differences in your

01:49    19    proposed schedule, and we go forward.        If they act sooner,

01:49    20    I'll accelerate, and we'll hold -- as soon as the mandate

01:49    21    comes down on the last patent, I would set a scheduling

01:49    22    conference.

01:49    23               MR. MUELLER:     Understood.    So we have no objection

01:49    24    to any of that, Your Honor.

01:49    25               I would like to address the trial in October if I

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01:49     1    could.

01:49     2                THE COURT:   Sure.

01:49     3                MR. MUELLER:    Your Honor, we feel that that trial

01:49     4    should go forward on the date scheduled.         We're not trying

01:49     5    to delay this at all.      In fact, we very much want this trial

01:49     6    to occur as soon as possible.       That case, as you well know,

01:49     7    has not only been ready for trial, but it's been tried.              We

01:50     8    had proposed dates for the retrial during meet and confer

01:50     9    discussions as early as last year, 2023, and also early this

01:50    10    year, 2024.

01:50    11                THE COURT:   But the date that you proposed to me

01:50    12    jointly, I believe, contemplated that the ITC litigation

01:50    13    would be wrapped up, and there would be some possibility or

01:50    14    opportunity for a global settlement.        Otherwise, I wouldn't

01:50    15    have put it out that far.

01:50    16                MR. MUELLER:    Well, Your Honor, I'm just speaking

01:50    17    for Apple.    We would have been happy to have it earlier or

01:50    18    happy where it is now, but we are not trying to delay that

01:50    19    trial a day.

01:50    20                THE COURT:   Okay.

01:50    21                MR. MUELLER:    Now, we want that trial to go

01:50    22    forward as scheduled, and there's a couple reasons for that,

01:50    23    Your Honor.    One of the most important reasons is the facts

01:50    24    that underlie that case are now nearly a decade old, and

01:50    25    some of the critical facts are quite aged.         Some of the

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                                                                                    EXHIBIT C
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01:50     1    witnesses in terms of availability may change.

01:50     2                THE COURT:   They're quite aged, too.

01:50     3                MR. MUELLER:    We all have.    Your Honor, you know,

01:50     4    just to give you one example, Steve Hotelling, who Your

01:50     5    Honor may recall, has retired.       Now, we're hoping to bring

01:51     6    him to trial to testify.      But as time goes along, it's going

01:51     7    to be more and more difficult to arrange witness

01:51     8    availability.

01:51     9                THE COURT:   Understood.

01:51    10                MR. MUELLER:    And for the trade secret claims in

01:51    11    particular, that percipient witness testimony is obviously

01:51    12    critical.    So just in terms of the timing of the evidence

01:51    13    itself, we think there's a premium on trying that case as

01:51    14    soon as we can feasibly do so, and we think the October 31

01:51    15    date -- we don't want that to move.

01:51    16                The second thing I'd say, Your Honor, is that

01:51    17    these new -- the patent claims, which would come out of the

01:51    18    Federal Circuit and for which we will discuss the schedule

01:51    19    with the plaintiff do involve, as Your Honor noted in the

01:51    20    tentative, different technology.       The trade secret trial was

01:51    21    alone a very complicated trial as Your Honor well recalls.

01:51    22    We had, of course, the big board with all the different

01:51    23    issues on it.

01:51    24                THE COURT:   Right.

01:51    25                MR. MUELLER:    It was a lot for the jurors to

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01:51     1    digest and to comprehend.      We have a lot of concern about

01:52     2    adding a whole new issue set on top of those issues.          To

01:52     3    boot, if the trial on the patent issues were going to occur

01:52     4    this fall, between now and then, we have to do all the fact

01:52     5    discovery, all the expert discovery, Markman proceedings,

01:52     6    summary judgment.     It's a lot.

01:52     7                We're prepared to do that on a brisk schedule,

01:52     8    Your Honor.    To be very, very clear, we're not trying to

01:52     9    delay it.    We're prepared to move quickly on the patent

01:52    10    issues.   But we would respectfully submit to Your Honor --

01:52    11    and we can more formally submit this after we've met and

01:52    12    conferred with the plaintiff on the schedule -- that the

01:52    13    most appropriate course, both in terms of ensuring the trade

01:52    14    secret claims are brought to a prompt resolution and also

01:52    15    ensuring that the trial on those issues is not confused by

01:52    16    injecting a whole new set of technologically distinct

01:52    17    issues -- our suggestion right now, Your Honor, would be to

01:52    18    keep that first trial where it is on the schedule as it is

01:52    19    in terms of issue set.      It's been fully tried, and we can

01:52    20    try it again on the date scheduled.

01:52    21                In parallel, we will work with the plaintiff to

01:53    22    set a brisk schedule on fact discovery, expert discovery,

01:53    23    Markman proceedings, summary judgment, and pretrial motion

01:53    24    practice on the patent issues.       But at this point, Your

01:53    25    Honor, we respectfully request from Your Honor a second

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01:53     1    trial on those issues.

01:53     2                Again, we're not trying to delay it, but we think

01:53     3    the most feasible way to do it from the Court's perspective,

01:53     4    from the parties' perspective, and from the jury's

01:53     5    perspective, is to finish the part that we had not just

01:53     6    started but we had tried and then to finish the rest.

01:53     7                So what we would say, Your Honor, is we can take

01:53     8    this up further with the plaintiff in the meet and confer

01:53     9    discussions.    We're not asking for anything specific right

01:53    10    now.   But I did want to provide you with our perspective as

01:53    11    we see it now given what Your Honor had said in the

01:53    12    tentative about not having made up your mind quite yet on

01:53    13    one trial versus two.

01:53    14                THE COURT:   Right.    But I think we ought to wrap

01:53    15    the whole thing once and for all.       Maybe that requires a

01:54    16    slight extension of the October date, but I think one trial

01:54    17    is preferable to two.

01:54    18                MR. MUELLER:    I think the problem, Your Honor, is

01:54    19    going to be -- again, we can make this more concrete in our

01:54    20    submissions to Your Honor after we've met and conferred with

01:54    21    the plaintiff.    It's going to be very, very difficult to

01:54    22    hold that date in October with everything else that we need

01:54    23    to do.

01:54    24                THE COURT:   Yes, but what I'm suggesting is that

01:54    25    that's one option.     Another option is to slip the October

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01:54     1    date slightly to accommodate whatever discovery is fair and

01:54     2    necessary for the patent part of the case which hasn't been

01:54     3    tried.

01:54     4                MR. MUELLER:    Well, Your Honor, again on that, I

01:54     5    think there's two problems.       One is it's going to be a

01:54     6    substantial amount that needs to be done.         Again, we can

01:54     7    make this more concrete in our submissions to Your Honor.

01:54     8    The second thing, though, is again --

01:54     9                THE COURT:   That's why I'm suggesting perhaps a

01:54    10    slight delay in the start of the October trial to address

01:54    11    that issue.

01:54    12                MR. MUELLER:    I'm not sure a slight delay would,

01:54    13    but we can take it up in our submissions.

01:54    14                THE COURT:   Okay, sure.

01:54    15                MR. MUELLER:    Again, Your Honor, with a trade

01:55    16    secret trial, we do have a strong concern that that evidence

01:55    17    is aging by the day in terms of witnesses and documents.

01:55    18                THE COURT:   Right.

01:55    19                MR. MUELLER:    And we do want that trial with Your

01:55    20    Honor's permission of course to occur as soon as it possibly

01:55    21    can.

01:55    22                THE COURT:   Okay.    Well, we have much to talk

01:55    23    about down the line it's clear to me.

01:55    24                Anything further, Mr. Claassen?

01:55    25                MR. CLAASSEN:    No, Your Honor.     Just as a quick

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01:55     1    point, in the Delaware case, we prepared for trial on a

01:55     2    similar schedule on 15 patents in about the same period of

01:55     3    time.   I think the parties are well capable of preparing

01:55     4    these three patents for trial in roughly the October

01:55     5    timeframe.    It may need to slip a little bit but not

01:55     6    significantly, and we're ready for trial as well.

01:55     7               THE COURT:    Okay.

01:55     8               Well, anything else for today?

01:55     9               MR. MUELLER:     No, Your Honor.    Thanks very much.

01:55    10               THE COURT:    Okay.    Let's just see how things play

01:55    11    out once we are either 60 days out or we have the mandate,

01:55    12    and one way or another, we're going to be getting together

01:56    13    quite shortly to work out scheduling.

01:56    14               MR. MUELLER:     Thank you, Your Honor.

01:56    15               THE COURT:    Okay.    Thank you.

01:56    16               MR. CLAASSEN:     Thank you.

02:01    17               (Whereupon, the proceedings were concluded.)

02:01    18                                  *    *   *

02:01    19

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02:01     1

02:01     2

02:01     3

02:01     4                                CERTIFICATE

02:01     5

02:01     6               I hereby certify that pursuant to Section 753,

02:01     7    Title 28, United States Code, the foregoing is a true and

02:01     8    correct transcript of the stenographically reported

02:01     9    proceedings held in the above-entitled matter and that the

02:01    10    transcript page format is in conformance with the

02:01    11    regulations of the Judicial Conference of the United States.

02:01    12

02:01    13    Date:   March 7, 2024

02:01    14

02:01    15
02:01                                   /s/   Sharon A. Seffens 3/7/24
02:01    16                             _________________________________
02:01                                   SHARON A. SEFFENS, U.S. COURT REPORTER
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                    EXHIBIT D
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                                  #:161796


 From: Adam Powell <Adam.Powell@knobbe.com>
 Sent: Tuesday, March 5, 2024 1:39 PM
 To: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo
 <apple-masimo@gibsondunn.com>; Apple-Masimo <apple-masimo@haynesboone.com>
 Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
 Subject: Masimo v. Apple (CD Cal) - Proposed Schedule

 Counsel,

 Pursuant to the February 26th hearing, we write to meet and confer on a schedule for when the patent
 stay is li�ed. Atached is Masimo’s proposal. Please let us know if Apple agrees to this schedule. If not,
 please let us know when you are available to meet and confer this week.

 Thanks,
 Adam

 Adam Powell
 Partner
 858-707-4245 Direct
 Knobbe Martens




                                                                                                    EXHIBIT D
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11                   IN THE UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                              SOUTHERN DIVISION
14   MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and            )
15   CERCACOR LABORATORIES, INC.,           ) Hon. James V. Selna
     a Delaware corporation                 ) Magistrate Judge John D. Early
16                                          )
                 Plaintiffs,                ) [PROPOSED] ORDER GRANTING
17                                          ) STIPULATION TO AMEND THE
           v.                               ) SCHEDULING ORDER
18                                          )
     APPLE INC., a California corporation   )
19                                          )
                 Defendant.                 )
20                                          )
                                            )
21                                          )
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                                                                         EXHIBIT D
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 1         This matter is before the Court pursuant to the parties’ Stipulation to Amend the
 2   Scheduling Order. Based on the stipulation of the parties, and good cause appearing,
 3   the Court GRANTS the Stipulation and AMENDS the Scheduling Order as shown
 4   below.
 5                               Event                              Proposed Schedule
 6    Revised Infringement Contentions                                 April 15, 2024
 7    (Patent L.R. 3-1 and 3-2)

 8    Invalidity Contentions                                           April 29, 2024
 9    (Patent L.R 3-3 and 3-4)

10    Simultaneous Opening                                             May 20, 2024
      Markman Briefs
11
      (Patent L.R. 4-5)
12
      Simultaneously Responding                                         June 3, 2024
13
      Markman Briefs, Tutorials
14    and Presentation Materials
      (Patent L.R. 4-5)
15
16    Markman hearing                                                  June 17, 2024
17                                                               (or such other date as the
18                                                                  Court deems proper)
19
      Opening Expert Reports                                            July 1, 2024
20
21    Rebuttal Expert Reports                                          July 15, 2024

22    Reply Expert Reports                                             July 22, 2024
23
      Discovery Cut-Off                                               August 5, 2024
24
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                                                                                EXHIBIT D
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 1                                Event                              Proposed Schedule
 2    Fed. R. Civ. P. 56 and Daubert Motions (concerning patent        August 12, 2024
 3    infringement claims and defenses only; one per side absent
 4    prior approval by the Court at least seven days in advance
 5    of filing date) and supporting documents
 6
      Fed. R. Civ. P. 56 and Daubert oppositions and supporting        August 26, 2024
 7
      documents
 8
      Fed. R. Civ. P. 56 and Daubert replies                          September 2, 2024
 9
10                                                                   September 16, 2024
11    Fed. R. Civ. P. 56 and Daubert hearing cutoff date           (or such other date as the
12                                                                   Court deems proper)
13
      Deadline To File Motions In Limine                             September 23, 2024
14
15    Deadline To File Pretrial Documents                              October 7, 2024

16    Final Pretrial Conference                                       October 21, 2024
17
                                                                      October 31, 2024
18
      Jury Trial                                                   (or such other date as the
19
                                                                     Court deems proper)
20
21
22   IT IS SO ORDERED.
23
24   Dated:
                                                  The Honorable James V. Selna
25                                                United States District Judge
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27
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                                                                                  EXHIBIT D
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                    EXHIBIT E
        Case 8:20-cv-00048-JVS-JDE Document 1943-2 Filed 03/22/24 Page 30 of 39 Page ID
                                         1                                         2
                                           #:161801
         1                                                                                          1    APPEARANCES OF COUNSEL:

         2                                                                                          2    For the Plaintiffs:

         3                                                                                          3    JOSEPH R. RE
                                                                                                         STEPHEN JENSEN
         4               UNITED STATES DISTRICT COURT                                               4    KNOBBE MARTENS
                                                                                                         2040 Main Street, 14th Floor
         5                       CENTRAL DISTRICT OF CALIFORNIA                                     5    Irvine, CA 92614
                                                                                                         (949) 760-0404
         6                            SOUTHERN DIVISION                                             6
                                                                                                         For the Defendant:
         7                               ---                                                        7
                                                                                                         H. MARK LYON
         8        THE HONORABLE JAMES V. SELNA, JUDGE PRESIDING                                     8    JOSHUA LERNER
                                                                                                         BRIAN ROSENTHAL
         9                                                                                          9    GIBSON DUNN & CRUTCHER, LLP
                   MASIMO CORPORATION, et al., )                                                         1881 Page Mill Road
         10                       Plaintiffs, )                                                     10   Palo Alto, CA 93403-1211
                                vs.                   )                                                  (650) 849-5307
         11                                          ) SACV-20-00048-JVS                            11
                   APPLE, INC.,                    )                                                     JOSHUA LERNER
         12                       Defendant. )                                                      12   GIBSON DUNN & CRUTCHER, LLP
                   ------------------------------)                                                       555 Mission Street, Suite 3000
         13                                                                                         13   San Francisco, CA 94105-0921
                                                                                                         (415) 393-8254
         14                                                                                         14
                                                                                                         BRIAN ROSENTHAL
         15                 REPORTER'S TRANSCRIPT OF PROCEEDINGS                                    15   GIBSON DUNN & CRUTCHER, LLP
                                                                                                         200 Park Avenue
         16                       Santa Ana, California                                             16   New York, NY 10166-0193
                                                                                                         (212) 351-2339
         17                July 10, 2020                                                            17

         18                                                                                         18

         19                 SHARON A. SEFFENS, RPR                                                  19
                                    United States Courthouse
         20                         411 West 4th Street, Suite 1-1053                               20
                            Santa Ana, CA 92701
         21                 (714) 543-0870                                                          21

         22                                                                                         22

         23                                                                                         23

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         25                                                                                 11:46   25

                        SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER                                             SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER




                                                                                        3                                                                                     4


         1    SANTA ANA, CALIFORNIA; FRIDAY, JULY 10, 2020; 2:58 P.M.                       02:59   1    better for Masimo to designate a claim in light of prior art

02:58    2          (Per telephonic conference)                                             02:59   2    demonstrating it wasn't viable.

02:58    3                  THE CLERK:         Calling Item No. 1, SACV-20-00048-JVS,       03:00   3                   So my thought is that the initial round of

02:58    4    Masimo Corporation versus Apple, Inc.                                         03:00   4    disclosures ought to come after the parties have made their

02:58    5                  Appearances on behalf of the plaintiff, please.                 03:00   5    invalidity disclosures and their prior art disclosures. The

02:58    6                  MR. RE:     Thank you. Good afternoon, Your Honor,              03:00   6    date for invalidity contentions is 9/7. What I would

02:58    7    this is Joseph Re of Knobbe Martens on behalf of Masimo                       03:00   7    propose is that within two weeks of that date, the parties

02:58    8    Corporation, and with me is my partner Stephen Jensen.                        03:00   8    present me with a proposal for an initial reduction of

02:58    9                  THE CLERK:         And on behalf of the defendants,             03:00   9    claims and prior art references that would contemplate

02:58    10   please.                                                                       03:00   10   actual disclosure of those reductions within 30 days of the

02:58    11                 MR. LYON:      Good afternoon, Your Honor. It's Mark            03:00   11   Court adopting a specific proposal. I would then

02:58    12   Lyon on behalf of Apple, and with me is Joshua Lerner, and                    03:00   12   contemplate that there would be a further reduction after

02:58    13   Brian Rosenthal.                                                              03:00   13   the Markman hearing, and I would leave to your discretion

02:58    14                 THE COURT:         Good afternoon.                              03:00   14   the time for final disclosure as to what we go to trial on.

02:58    15                 Thank you for your joint report that you filed                  03:01   15                  I think that may require some adjustments to

02:58    16   last week. Let me share my thoughts with you, and then I'd                    03:01   16   events leading to the Markman hearing. If the invalidity

02:59    17   be happy to hear you.                                                         03:01   17   contentions come in on 9/7, the parties' exchange of

02:59    18                 I believe it's fundamentally unfair to the parties              03:01   18   proposed claim terms is 9/21. I don't think that gives you

02:59    19   and inefficient to require reduction of the number of claims                  03:01   19   enough time to reflect on both sides' disclosures, come up

02:59    20   for prior art references prior to the full disclosure of the                  03:01   20   with your proposal, and then for narrowing selections of

02:59    21   infringement contentions and the invalidity contentions.                      03:01   21   claims and prior art references.

02:59    22   Let me give you an example of the poker world. Suppose                        03:01   22                  So I think that the dates between the exchange of

02:59    23   Masimo has a claim that it would evaluate as a for basis,                     03:01   23   claim terms and the Markman hearing need to be adjusted to

02:59    24   but when Apple makes its invalidity disclosures, it comes up                  03:01   24   accommodate the disclosures pursuant to whatever proposal I

02:59    25   with prior art that would amount to Royal Fresh. It's                         03:01   25   adopt for the disclosures following the invalidity and the

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                                                                                                                                                                            EXHIBIT E
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                                         5                                         6
                                           #:161802
03:01    1    infringement contentions and the Markman hearing. I'm not            03:03   1    concern, and you may have already considered this, but let

03:02    2    adverse to slipping the Markman hearing a month or six weeks         03:03   2    me at least just throw it out there so that we can have a

03:02    3    if that makes sense. That's in February, and we don't have           03:03   3    discussion if it's helpful. The one thing I would say with

03:02    4    a trial date in 2021.                                                03:03   4    not putting in some kind of target limits at this point is

03:02    5                   So those are my general thoughts. I'll be happy       03:03   5    that you end up with potentially hundreds of claims that

03:02    6    to hear you.                                                         03:03   6    both parties are going to be charting, that they're going to

03:02    7                   Let's begin with you, Mr. Re.                         03:03   7    be discussing and potentially arguing over as far as what

03:02    8                   MR. RE:     Thank you, Your Honor.                    03:03   8    claim terms might be involved.

03:02    9                   I think we're in complete agreement with              03:03   9                   That is not a trivial aspect. I mean, that's

03:02    10   everything you said. I do think there needs to be an                 03:03   10   something where some of these -- I'm sure you've seen them.

03:02    11   exchange of information. I do want to alert the Court that           03:03   11   Some of these claim charts can wind up being hundreds or

03:02    12   we are planning on amending our pleading that's set forth in         03:03   12   thousands of pages long, which is a very significant effort

03:02    13   the Court's order regarding the Motion to Dismiss. In fact,          03:03   13   to create, even if it is copying and pasting some of the

03:02    14   we will be substituting out some patents, so there needs to          03:03   14   information because these claims are so related, which still

03:02    15   be some more time for the parties to fully evaluate the              03:03   15   winds up that somebody has to sit down and analyze each

03:02    16   claims.                                                              03:04   16   individual claim to decide whether or not you can simply

03:02    17                  And, yes, we have not yet received the other          03:04   17   copy a paragraph from a different claim or not. You have to

03:02    18   party's technical documents which were due back in June, and         03:04   18   do that, and then that has to go through whatever levels of

03:02    19   that we of course need before we do our contentions. But we          03:04   19   review with the client and with the firm to make sure that

03:02    20   agree with everything you said, and I think the parties will         03:04   20   that's okay.

03:03    21   work it out and will come up with a proposal for this by             03:04   21                  Then to the extent that there's any dispute about

03:03    22   September 21 as you indicated.                                       03:04   22   that, instead of having a single claim that the Court is

03:03    23                  THE COURT:       Mr. Lyon.                            03:04   23   worrying about, it may end up being 15 or 16 claims, which

03:03    24                  MR. LYON:      Thank you, Your Honor.                 03:04   24   the Court would then have to do a similar review to make

03:03    25                  Just a couple points. Let me just raise a             03:04   25   sure it all makes sense, and the same argument applies

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                                                                               7                                                                                      8


03:04    1    equally to each of those 15 or 16 claims.                            03:05   1    troubling because we are already very far into the case, and

03:04    2                   So our view of this would be if we set some           03:06   2    we're already trying to start gearing up for discovery on

03:04    3    number, and it could be -- we don't think the numbers we             03:06   3    the patents that we have. But that may also throw a monkey

03:04    4    picked are terrible, but if there's a higher number, we              03:06   4    wrench into not just this but to more parts of the case

03:04    5    could talk about that. But pick some target numbers now so           03:06   5    schedule if it changes substantially.

03:04    6    that we can get a bit more reign in on the case before we            03:06   6                   THE COURT:      I appreciate the fact that at some

03:04    7    get into charting everything with the idea that if there's           03:06   7    point the parties will have to make hard choices. I believe

03:04    8    reasons to change these things down the road, that's                 03:06   8    they ought to be able to make fair hard choices. But if you

03:04    9    something that can always be done in good cause.                     03:06   9    want to have further discussions among yourselves and come

03:05    10                  But it really needs to be done at the stage of        03:06   10   to a consensus as to how to do some limits at this time,

03:05    11   preparing it for Markman, and then have that kind of a               03:06   11   that's fine, but I'm not going to impose it.

03:05    12   target, sort of like page limits in the brief in a lot of            03:06   12                  What I'm going to order is that no later than 9/21

03:05    13   ways. If you put these claims and limits on people, they'll          03:06   13   the parties will submit a joint proposal for the initial

03:05    14   make some hard choices that they otherwise wouldn't make or          03:06   14   round of productions and the number of infringement

03:05    15   -- and that they probably should make, but because of the            03:06   15   contentions and prior art references, and a final proposal

03:05    16   fact that they don't have to, everything just gets thrown in         03:06   16   as to what we ought to do following the Markman hearing, and

03:05    17   with the kitchen sink.                                               03:06   17   then what we ought to do as a final third stage in terms of

03:05    18                  That's why we were suggesting trying to do            03:06   18   what we're actually going to go to trial on.

03:05    19   something now. Then if we need to have some discussions              03:07   19                  MR. RE:    T?hank you, Your Honor.

03:05    20   about whether, you know, it's 50, 40, claims, whatever it is         03:07   20                  May I ask one more question about this, though,

03:05    21   we pick -- maybe the plaintiffs need a little bit more than          03:07   21   Your Honor? If we have currently set up infringement

03:05    22   that, maybe another ten or so -- we could have those kinds           03:07   22   contentions due on July 27, which then triggers our

03:05    23   of discussions and maybe stipulate to that at the beginning.         03:07   23   invalidity contentions on September 7 to trigger off of

03:05    24                  This is the first we've heard that they're            03:07   24   those -- if the patents are going to be changing because of

03:05    25   planning on changing the patents again, so that's a little           03:07   25   the new pleading, I guess I would want to know when is that

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                                                                                                                                                                    EXHIBIT E
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                                         9                                         10
                                           #:161803
03:07    1    going to happen, and are those target changes going to be                 03:08   1    may know, is that there needs to be a 2019 trade secret

03:07    2    reflected in the infringement contentions we are going to                 03:08   2    statement in place before we can proceed on the trade secret

03:07    3    see in July, or is that going to be a completely separate                 03:09   3    discovery.

03:07    4    ball of wax that we have to deal with?                                    03:09   4                   The whole basis for that rule is to really avoid

03:07    5                  THE COURT:       Well, if Masimo changes the line of        03:09   5    the situation where plaintiffs get ahold of all these

03:07    6    both patents, I would reevaluate the dates for infringement               03:09   6    technical documents and then can hunt and peck and kind of

03:07    7    and invalidity contentions in light of that on a fairly                   03:09   7    try to come up with a list of trade secrets that they

03:07    8    short ex-parte basis.                                                     03:09   8    otherwise really don't have but that they are trying to

03:07    9                  Let me circle back to one thing Mr. Re said. I              03:09   9    create that way. That is the whole purpose of being able to

03:07    10   don't think that Masimo should be required to make its                    03:09   10   have those trade secrets in before all that technical

03:07    11   infringement contentions until you produce the core                       03:09   11   information is out.

03:08    12   technical information. I understand that there is presently               03:09   12                  If that information is provided ahead of getting

03:08    13   in place a protective order to permit that, but to the                    03:09   13   those trade secrets, that bell can't be unrung. That's one

03:08    14   extent that production is made, these dates are just going                03:09   14   concern, and we actually have that motion in place. We

03:08    15   to drift out there and out there and out there. And I would               03:09   15   understood from yesterday that Masimo was asking us to

03:08    16   be likely to entertain a motion made to me, not the                       03:09   16   produce that information. The first that they had come back

03:08    17   magistrate judge, with regard to patent production on the                 03:09   17   and talked to us was in an email yesterday asking for that

03:08    18   core confidential information.                                            03:09   18   information immediately, knowing that we had these

03:08    19                 MR. LYON:      Your Honor, on that point -- this is         03:09   19   objections out there. We may need to actually file some

03:08    20   Mark Lyon again, Your Honor. On that point, we did produce                03:09   20   type of an ex-parte application, if necessary, to seek

03:08    21   nonconfidential technical documentation as part of the                    03:09   21   relief on that so we can get that issue decided first, if

03:08    22   schedule, and we're waiting on the protective order which                 03:09   22   possible.

03:08    23   now is in place. But as you may know, we filed an objection               03:10   23                  I don't know, Mr. Lerner, if you want to say

03:08    24   to certain orders of Magistrate Early on the staging of                   03:10   24   anything more on that. Please feel free.

03:08    25   that, which we do hope to have -- because the issue, as you               03:10   25                  MR. LERNER:      First of all, thank you for having

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03:10    1    this hearing by telephone, Your Honor. We know during these               03:11   1    or not discovery requests fall within it. That just can't

03:10    2    times it's busy, and we appreciate the opportunity to be                  03:11   2    be done until they provide this document, which the parties

03:10    3    heard.                                                                    03:11   3    briefed before the scheduling order, which Your Honor then

03:10    4                  Second, I do not believe that anybody can dispute           03:12   4    ruled on.

03:10    5    the point that once these documents are out then you have                 03:12   5                   So as Mr. Lyon says, if necessary -- in fact,

03:10    6    the issue that is raised by every case on point, which is,                03:12   6    we're planning on it if necessary to raise it as quickly as

03:10    7    one can make vague trade secret allegations and then claim                03:12   7    possible now, so that we don't run into this waterfall of

03:10    8    Apple's valuable confidential information based on years of               03:12   8    problems that will follow if there's not compliance with

03:10    9    hard work on this product as their own. That simply cannot                03:12   9    this basic rule.

03:10    10   be undone once these documents are produced, and it leads to              03:12   10                  THE COURT:      I guess I analyze things differently.

03:10    11   all kinds of issues.                                                      03:12   11   If core confidential documents are relevant to the patents,

03:10    12                 I think the two most relevant here are that what,           03:12   12   they should be disclosed now, notwithstanding the fact that

03:10    13   for example, do you do with the people that are going to                  03:12   13   they may overlap the trade secrets case. We need to go

03:10    14   work on the trade secret disclosure when first Your Honor                 03:12   14   forward with the patent case. And if and when there is

03:11    15   did order compliance with Section 2019.210 many months ago?               03:12   15   adequate disclosure for trade secrets, all other materials

03:11    16   What do you do with the lawyers who have seen our                         03:12   16   should be produced. But to the extent the core confidential

03:11    17   confidential information, but also might want to work on                  03:12   17   technical documents are relevant to the patent case, they

03:11    18   that disclosure, which does at some point obviously need to               03:12   18   should be disclosed now and in advance of Masimo having to

03:11    19   be provided? Our view, as we briefed, is that it should                   03:12   19   identify which claims it wants to proceed on.

03:11    20   have been provided a long time ago.                                       03:13   20                  MR. LERNER:      If I may just very briefly respond to

03:11    21                 The other key policy matter here, I think, is that          03:13   21   that, Your Honor. I understand that Masimo has raised that

03:11    22   we would not be having these discussions or these problems                03:13   22   argument, but it does render the statute a nullity.

03:11    23   if that disclosure had been provided, because I think the                 03:13   23   2019.210 expressly states: "Discovery related to the trade

03:11    24   most basic policy guidance behind the rule is it enables the              03:13   24   secrets" -- indeed, in cases before Judge Early before, he

03:11    25   Court to determine the proper scope of discovery and whether              03:13   25   said just because discovery relates to a non-trade secret

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03:13    1    claim it doesn't mean it also doesn't relate to the trade               03:15   1    is allegedly theirs, even though it's based on our

03:13    2    secret. Here, there's no dispute -- there can't be any                  03:15   2    confidential information, but (b) tries to weave around

03:13    3    dispute that discovery on the patent side relates to the                03:15   3    their many patents so they don't run into the problem that

03:13    4    trade secrets.                                                          03:15   4    it's been disclosed.

03:13    5                  So if we're going to do that, it does render the          03:15   5                  For those reasons, I think it's in some ways of

03:13    6    statute in this instance a nullity, and we will have, I                 03:15   6    critical importance here that we do it. It's even more

03:13    7    think, all the problems that follow and are the very basis              03:15   7    important than I would say in a normal case where there

03:14    8    for the rule there. So I think that it is important to                  03:15   8    might not be quite so many patents in the space or so many

03:14    9    consider both the express language of that statute and then             03:15   9    allegations that the secrets were allegedly disclosed in the

03:14    10   what's behind it.                                                       03:15   10   patents.

03:14    11                 The only other thing I will mention is that every         03:15   11                 THE COURT:       Let's assume Masimo never asserted a

03:14    12   case that Masimo has cited on this point that involved                  03:15   12   trade secret claim. The confidential information which

03:14    13   parallel claims -- every single one there was a prior trade             03:15   13   involves the patent claims would be subject to production

03:14    14   secret disclosure. It's possible that it could have been                03:16   14   whether it was a trade secret or not. That's what

03:14    15   amended at some later time, but there was at the very least             03:16   15   protective orders are for.

03:14    16   some disclosure.                                                        03:16   16                 MR. LERNER:       We completely agree with that, Your

03:14    17                 The only exception I can think of was one where           03:16   17   Honor. If there were no trade secret claims in this case,

03:14    18   there was a date certain order, and the plaintiff would have            03:16   18   this would not be a problem. But every case where there is

03:14    19   had to show good cause if they ever wanted to change it                 03:16   19   a trade secret, given the express language of the statute,

03:14    20   later. Because without either the disclosure or that date               03:16   20   has found that you can't avoid that language. I'm not aware

03:14    21   certain and an order that it can't be changed without good              03:16   21   of any finding that ignores the language on point.

03:14    22   cause, then we have the very real situation that Masimo can             03:16   22                 That's why in all of the cases there was a trade

03:15    23   just look through our confidential information in a case                03:16   23   secret disclosure before you had a ruling that patent

03:15    24   with a patent thicket and use our confidential information              03:16   24   discovery could go forward, or at least as I said, an order

03:15    25   to try and craft their purported secrets in a way that (a)              03:16   25   that the trade secret disclosure be produced by a date

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03:16    1    certain along with admonition that the list couldn't change             03:18   1    correct. Our patent case is independent of the trade secret

03:16    2    without good cause.                                                     03:18   2    case. The case law that we already cited and briefed to

03:17    3                  So, yes, if there were no trade secret claim, then        03:18   3    Judge Early on these other motions were breach of contract

03:17    4    2019.210 by and large would not come into play. There are               03:18   4    cases that were factually dependent on the trade secret

03:17    5    some cases holding that if it's kind of, you know, a wolf in            03:18   5    claims. Our case is not dependent on our trade secret case.

03:17    6    sheep's clothing and it's obvious it's coming, then the                 03:18   6    And currently the trade secret case has been dismissed on

03:17    7    Court would say you still have to do the 2019.210                       03:18   7    their Motion to Dismiss. It's not even pending before the

03:17    8    disclosure.                                                             03:19   8    Court, and obviously the patent case gets to go forward.

03:17    9                  But here we don't have that situation. This is a          03:19   9                  I've never seen such strenuous objections to

03:17    10   case where they've suggested they have a serious trade                  03:19   10   producing just the core technical documents in a case. They

03:17    11   secret claim. They've never described it with any                       03:19   11   are fighting tooth and nail, and they will keep fighting and

03:17    12   specificity whatsoever, even though they allege it has been             03:19   12   fighting no matter what. They're going to file more motions

03:17    13   disclosed in public patent filings. One could just say                  03:19   13   I understand today to prevent the disclosures that were due

03:17    14   here's the page and line number.                                        03:19   14   back in June. I think the time has come we move forward now

03:17    15                 Not withstanding all of those things, there's no          03:19   15   as the Court has indicated.

03:17    16   description in a case that's, you know, roughly seven months            03:19   16                 THE COURT:       Are you going to replead your trade

03:17    17   old, and they want this confidential information. Again,                03:19   17   secret claim?

03:18    18   once that's done, we just cannot undo it, and we'll have I              03:19   18                 MR. RE:    Yes, we are. We plan on complying with

03:18    19   think unfortunately a lot of unnecessary disputes both about            03:19   19   the 30-day leave to amend date at the end of the month.

03:18    20   the scope of discovery, but also what to do about the fact              03:19   20                 THE COURT:       Okay. Well, I think you have my

03:18    21   that you then have lawyers who have seen our secrets                    03:19   21   general views. Let's see what motion practice that results

03:18    22   drafting what their alleged secrets are.                                03:19   22   in.

03:18    23                 THE COURT:       Mr. Re.                                  03:19   23                 Anything else we should take up today?

03:18    24                 MR. RE:     Well, Your Honor, this is at least the        03:19   24                 MR. RE:    No. Thank you, Your Honor.

03:18    25   second or third time they've made this argument. You are                03:20   25                 MR. LYON:       Thank you, Your Honor.

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03:20    1         MR. LERNER:        Thank you very much, Your Honor.   1

03:20    2         THE COURT:         Okay. Thank you very much.         2

03:20    3         (Whereupon, the proceedings were concluded.)          3

03:20    4                *   *   *                                      4                                       CERTIFICATE

         5                                                               5

         6                                                               6          I hereby certify that pursuant to Section 753,

         7                                                               7    Title 28, United States Code, the foregoing is a true and

         8                                                               8    correct transcript of the stenographically reported

         9                                                               9    proceedings held in the above-entitled matter and that the

         10                                                              10   transcript page format is in conformance with the

         11                                                              11   regulations of the Judicial Conference of the United States.

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         13                                                              13   Date: July 20, 2020

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                                                                                            /s/ Sharon A. Seffens 7/20/20
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